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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

INDIANAPOLIS DIVISION
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
v. ) CAUSE NO.
~ )
ROBERT DEW, )
)1 1\7-€!`°0166[0`}[] 'MJD

Defendant. )

INDICTMENT

COUNT ONE

[21 U.S.C. §§ 84l(a)(l) and (b)(l)(C)]
[Possession with Intent to Distribute Fentanyl]

The Grand Jury charges that:

On or about May 29, 2017, in Marion County, in the Southern District of Indiana,
ROBERT DEW did, knowingly and intentionally possess With the intent to distribute a mixture
or substance containing a detectable amount of N-phenyl-N-[l-(thenylethyl)-4-piperidinyl]
propanamide (fentanyl), a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(C).

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COUNT TWO
[18 U.S.C. § 924(c)(l)]
[Carrying a Firearm During and in Relation to a Drug Trafficking Crime]
The Grand Jury further charges that:

That on or about May 29, 2017, in the Southern District of Indiana, ROBERT DEW, the
defendant herein, did knowingly possess a firearm, to wit: an American Classic .45 caliber
handgun with a serial number A10442, and/or a Titan Tiger .38 caliber Revolver with a serial
number 034202, and/or a Sig Sauer .40 caliber handgun with a serial number SP0050585, and/or
a Springfleld .45 caliber handgun with a serial number X5609638, and/or a Rock Island .22
caliber firearm with a serial number MAl61501 l, and/or a BCI Defense 5.5 6 firearm With a
serial number SQSZl7l, and/or a Witness P .45 caliber handgun with a serial number AE85686,
and/or a Rohm .38 caliber revolver with a serial number 0142130, and/or a Rohm .22 caliber
firearm with a serial number 22179, and/or a Glock l9 caliber firearm with a serial number
STB524, during and in relation to the offense charged in Count One of the Indictment, in
violation of Title 18, United States Code, Section 924(0)(1).

FORFEITURE

l. Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 18, United States Code, Section 924(d), Title 21, United States
Code, Sections 853 and 881, and Title 28, United States Code, Section 2461(0), as part of any

sentence imposed.

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2. Pursuant to Title 21, United States Code, Section 853, if convicted of the offenses
set forth in Count One or Count 2 of the Indictment, the defendant shall forfeit to the United y
States any and all property constituting or derived from any proceeds the defendant obtained
directly or indirectly as a result of the offenses, and any and all property used or intended to be
used in any manner or part to commit and to facilitate the commission of the offenses.

3. Pursuant to Title 18, United States Code, Section 924(d), if convicted of the
offenses set forth in Count One or Count Two of this Indictment, the defendant shall forfeit to

the United States “any firearm or ammunition involved in” the offense.

4. The property subject to forfeiture includes, but is not necessarily limited to, the
following:
a. American Classic .45 caliber handgun with a serial number AlO442;
b. a Titan Tiger .38 caliber Revolver with a serial number 034202;

c. a Sig Sauer .40 caliber handgun with a serial number SP0050585;
d. a Springfield .45 caliber handgun with a serial number X5609638;
e. a Rock Island .22 caliber firearm with a serial number MAl615011;
f. a BCI Defense 5.56 firearm with a serial number SQS2171;

g. a Witness P .45 caliber handgun with a serial number AE85686;

h. a Rohm .38 caliber revolver with a serial number 0142130;

i. a Rohm .22 caliber firearm with a serial number 22179;

j. a Glock 19 caliber firearm with a serial number STB524, and;

k. All ammunition recovered at 2277 Tradewinds Drive, Indianapolis,

Indiana, Apartment F, on May 29, 2017.

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5. The United States shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), and as incorporated by Title 28, United States

Code, Section 2461(c), if any of the property described above in paragraph 4, as a result of any

act or omission of the defendant:

a.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot be divided
without difficulty.

A TRUE BILL:

 

JOSH J. MINKLER
United States Attomey

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Peter A. Blackett/
Assistant United States Attorney

